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 1   HEATHER E. WILLIAMS, State Bar #122664
     Federal Defender
 2   RACHELLE BARBOUR, State Bar #185395
     Attorney
 3   OFFICE OF THE FEDERAL DEFENDER
     801 I Street, 3rd Floor
 4   Sacramento, CA 95814
     Tel: 916-498-5700/Fax 916-498-5710
 5   rachelle.barbour@fd.org
 6   Attorney for Defendant
     SHENG LI
 7
                                      UNITED STATES DISTRICT COURT
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                              No. 2:14-cr-000220-KJM
11                       Plaintiff,                         STIPULATION AND [PROPOSED]
                                                            ORDER MODIFYING CONDITIONS OF
12        v.                                                RELEASE
13   PHILLIP CHAO, et al.,
14                  Defendants.                             Judge: Hon. Edmund F. Brennan
     ______________________________/
15
16
            IT IS HEREBY STIUPLATED by Assistant United States Attorney CHRISTIAAN
17
     HIGHSMITH and Attorney RACHELLE BARBOUR, attorney for SHENG LI, that the
18
     following conditions of release be modified:
19
            You shall seek and/or maintain employment or enroll in an approved education
20
     program and provide proof of same as requested by your pretrial services officer.
21
               CURFEW: You shall remain inside your residence every day from 11:00 p.m. to 7:00
22
     a.m., or as adjusted by the pretrial services officer for medical, religious purposes, employment,
23
     education, or court-ordered obligations.
24
               Reason for modification: Mr. Li has enrolled in an approved education program to learn
25
     the English language and he has provided verification to his pretrial services officer. It will
26
     require adjustments to his curfew and the condition as previously imposed did not give the
27
     Pretrial Services Office the authority to modify curfew for educational purposes.
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 1          Mr. Li has been fully compliant with all of his Pretrial Services Conditions and has not
 2   violated the curfew.
 3          Pretrial Service Officer Renee Basurto concurs with the conditions listed above. All
 4   other conditions are to remain as ordered.
 5   Dated: August 25, 2015                               Respectfully submitted,
 6                                                        HEATHER E. WILLIAMS
                                                          Federal Defender
 7
                                                          /s/ Rachelle Barbour
 8                                                        RACHELLE BARBOUR
                                                          Attorney
 9
10   Dated: August 25, 2015
11                                                        BENJAMIN A. WAGNER
                                                          United States Attorney
12
                                                          /s/ Rachelle Barbour for
13                                                        CHRISTIAAN HIGHSMITH
                                                          Assistant United States Attorney
14
15
16                                                ORDER
17
            IT IS HEREBY ORDERED that Mr. Li’s home confinement and curfew conditions are
18
     modified as listed above. All other conditions of release are to remain as previously ordered.
19
     DATED: August 25, 2015.
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